       Case 3:21-cv-00098-SRU Document 1 Filed 01/21/21 Page 1 of 8




                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


                                         COMPLAINT FORM




Full name(s) of Plaintiff(s)
(Do not use et al.)

                                                         Case No.    3:21-cv-98 (JCH)
                                                                     ---------
                                                                    (To be supplied by the Court)




Full names of Defendant(s)
(Do not use et a/.)


                                               A. PARTIES
1.   &Qr\ t ~~x:: fi,c d           Q            is a citizen of \>-YJ M::f A     Shr±c.s     who
              (Plaintiff)                                              (State)
presently resides at 7         ~m, L'-1 \;\.JE\
                               (mailingladdress
                                                     y S\)f:f\e\c           0.,,- C'bD:J>{ .


2. Defendant    A tl:   \CJ\'(Q,       \R-SS              is a citizen of - - ''-.)SA
                                                                               ---=..a--'------
            (name of first defendant)                                             (St ate)
whose address is \DC\5::       ti
                               131'.le c\ t (       Cd         ""-     \c,,       ,,.,....-,-
                                                            \k_,.,1\(\0,,.,\\X- '-....,_
      Case 3:21-cv-00098-SRU Document 1 Filed 01/21/21 Page 2 of 8




                                            D. CAUSE OF ACTION

I allege that the following of my constitutional rights, privileges, or immunities or my
rights under a federal statute have been violated and that the following facts form the
basis of my allegations: (If more space is needed to explain any allegation or to list
additional supporting facts, continue on a blank sheet which you should label "D.
CAUSE OF ACTION.")

Claim I:     C:e>OS\M):::eY           fiJ,,)d           :\rv'fD          A \-t   W \t-e \e SS ,

  See        'A tl: c~~'Go       A we Yb                E   --t- b   \b tt       'l

Supporting Facts: (Include all facts you consider important, including names of persons
involved, places, and dates. Describe exactly how each defendant is involved. State
the facts clearly in your own words without citing legal authority or argument.)


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                                     f'~-\- \;\' Y) ~ '0: ~ \,4'             --e 1'- l,\ k) \.+ s
Claim II:   'Pi\-\: \=O\ \'"?C ~ v--k Sr l'.\1= '00"-II                          \?, IJ2- :to       C0UR t. +-t \hS
    ~--1--h; 6 L+ a. . ::Jf)__ete.. ½->A~ \\.) v                             S~-Q c\[\ us &c ±l D L,'"k l .
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Supporting Facts:

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        Case 3:21-cv-00098-SRU Document 1 Filed 01/21/21 Page 3 of 8




Original signature of attorney (if any)


Printed Name                                       Printed Name
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                                                        Sa-\~\£\~          C\. D6Dl~

( )                                                (    ) ~(J) ~\.( c~   _C{ 3 2..0.i
Attorney's full address and telephone              Plaintiffs full address and telephone


Email address if available                         Email address if available
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                DECLARATION UNDER PENAL TY OF PERJURY

       The undersigned declares under penalty of perjury that he/she is the plaintiff in
the above action, that he/she has read the above complaint and that the information
contained in the complaint is true and correct. 28 U .S.C. § 1746; 18 U .S.C. § 1621.

Executed at     s~ -\-\€\, C
                   (location)
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                                                       (date)




(Rev.3/29/16)




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            Case 3:21-cv-00098-SRU Document 1 Filed 01/21/21 Page 4 of 8




                                              Clerk's Office

                                            U.S District Court

                                             Federal Building

                                     450 Main St Hartford CT 06103



Plaintiff: Jennifer Forde

Defendant: AT&T Wireless

On February 27 th 2020 (7:00) PM I went to AT&T Wireless Store Located: 1095 Kennedy Rd Windsor CT
06095 Suite: 7A. I inquired about a promotion that was being advertised through the locations front
window for No Credit Check Advertisement. The Sales agent told me I qualified for the LG V60 Thin Q 5G
Phone. See Exhibit 1 This phone was displayed as 2 sided screens, but they were sold separately. Sales
agent stated that I had to pay first before he was able to go in the back stock room to get thP. other
phone. After I paid for the purchased then he responded back to tell me that I wasn't able to get the
second screen. After feeling that I was swindled through the transaction I decided to return the phone
on the next business day February 28 th 2020 (10:00) AM. At first they refused to return the phone then I
threatened that I would get corporate involved. The phone was supposed to be ported, but wasn't due
to the wrong account information given. I then was told that I had to pay a $50.00 restocking fee which I
had pay. I was ensured that all services were cancelled due to device and service was rendered. Moving
forward this store mislead me so they can advance in their sales performance. Also for the past 1 years
it was told to me that there was no manager neither. 3/2020-present I have called their customer
service number I have been put on lengthy holds and I have been transferred all around to different
departments that keep telling me that retention department cancel contracts then the retention
department will tell me that customer service cancel contracts. Within the first 16 hours I have cancelled
my contract and returned all the merchandise as instructed and AT & T Wireless has been very unfair
and unjust in their consumer practices, also my holds have been 1-3 hours diverted to different
countries that display poor English and no training on basic related issues. Now I have received a letter
from collections with AT&T Wireless as their customer demanding money that I owe them which I have
never received services from them. See Exhibit 2 I am suing AT & T Wireless in the sum of $50,000 For
pain and suffering as well as a substantial decline in my credit score due to their false reporting to all
three credit bureaus Equifax, Transunion, Experian, also the add on to false billing in collections and for
sum of $344.06. There was never no activation to this account.

This Complaint Includes: ATT Wireless 1095 Kennedy Rd Windsor CT 06095 Suite: 7A Phone: (860) 285-
0358

This Complaint Includes: Corporate AT & T Wireless 208 S. Akard St Dallas, TX 75266 Phone: (210) 821-
4105



Jennifer Forde (Plaintiff)
                                           Case 3:21-cv-00098-SRU Document 1 Filed 01/21/21 Page 5 of 8
                                                                                                                                              Contact Information
                                                                                                          Office Address:                                                   g       www.afnicollections.com
                                                                                                          1310 Martin Luther King Drive
                                                                                                          PO Box 3517
                                                                                                                                                                           ,,"      {877) 284-4245


arni~)                                                                                                    Bloomington, IL 61702-3517

                                                                                                          Monday- Friday 7am-7pm Central

                                                                                                        December 4, 2020                                                                            Collection Notice
          WHAT IS MY ACCOUNT INFORMATION?
                                                                                                        JENNIFER FORDE:
 Creditor: AT&T
 Creditor Account: 374031369591                                                                         This account has been placed with our agency for collection. In an effort to
                                                                                                        resolve this matter, we are willing to accept $250.55 to resolve your account.
 Afni, Inc. Account: 079500781-01
                                                                                                        Once you pay this discounted amount, your account will be closed and
 Balance Due: $334.06                                                                                   marked settled in full with Afni, Inc. and AT&T. We look forward to assisting
 Discount Offer: $250.55                                                                                you in resolving your account.

                                                                                                                                    ***Discounted Offer: $250.55***
                    HOW CAN I MAKE PAYMENT?
                                                                                                        Unless you notify this office within 30 days after receiving this notice that you
                                                                                                        dispute the validity of the debt or any portion thereof, this office will assume
      Afni accepts payment made via check, money                                                        this debt is valid. If you notify this office in writing within 30 days from
           order, check by phone or credit card.                                                        receiving this notice that you dispute the validity of the debt or any portion
                                                                                                        there of, this office will: obtain verification of the debt or obtain a copy of a
g        Pay online at www.afnicollections.com.
                                                                                                        judgment and mail you a copy of such judgment or verification. If you request
 t\
 ,,. Call (877) 284-4245.                                                                               this office in writing within 30 days after receiving this notice, this office will
                                                                                                        provide you with the name and address of the original creditor, if different
ISZI Mail in payment using payment stub below.                                                          from the current creditor.




                                                                       ***Additional Disclosures Below. Please Review***
                                                            Additional disclosures ma also be rinted on the back o letter.
This is an attempt to collect a debt. Any information obtained will be used for that purpose. This communication is from
a debt collector.
All conversations with Afni may be recorded.


                                                                                                                                               Make payment payable to Afni, Inc,
                                                                                                                                            Please include Afni Account# on payment

       DEPT 555
                                                                                                                         r   ISZI   Pay by Mail              Q       Pay Online                t,    Pay by Phone

                                                                                                                         Toll Free#: (877) 284-4245
       PO BOX4115
       CONCORD CA 94524                                                                                                      Creditor: AT&T
                                                                                                                             Creditor Account#: 374031369591
      111111111111111111111111111111111111111111 /IIII IIHI 11111 1111111111 111111111111111 11111111
                                                                                                                             Afni, Inc. Account#: 079500781-01
                                                                                                                             Balance Due: $334.06
       ADDRESS SERVICE REQUESTED                                                                                             Discounted Offer: $250.55


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                                                                                                                                       RESPOND TO:
                        JENNIFER FORDE
                        4 EMILY WAY
                        SUFFIELD CT 06078-2466                                                                                         Afni, Inc.
                                                                                                                                       PO Box 3517
                                                                                                                                       Bloomington, IL 61702-3517
                                                                                                                                     111 11 1111 1l 11 11l1l 11111111 lll1 1•1•111 1•11 1 1111 l11 111 1111 1l 111 11 11

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                                   Case 3:21-cv-00098-SRU Document 1 Filed 01/21/21
                                                                             Page:
                                                                                    Page 6 of
                                                                                           3 of83
                                                                                                                 Issue Date:                Mar 28, 2020
                                                                                                                 Account Number:            374031369591



  ... Group 1 continued
      Total usage                                                       0.31                  0                  0
      Included in plan                                              unlimited         unlimited           unlimited
      Usage is rounded up based on your plan. For more details on your Shared usage summary, visit att.com/myusage.




             Phone, 860.849.4326
             JENNIFER FORDE

  Activity since last bill
                                                 \,vff-S
                                                                      Feb 29 - Mar 28
  •     1.   Retail Store CPE Chgbck                                  Mar23                                 $166.53   <   One-time charge


  Total for 860.849.4326                                                                                $166.53


  Total for Wireless                                                                                    $166.53



  News you can use                                                                           Questions on accessibility by persons with disabilities: 866.241.6568.


                                                                                             Written correspondence
  Late payment fee increase
                                                                                             Do not send notes/letters with payment. We cannot guarantee receipt. Send
  Effective on or after your April bill, for Mobility Consumer /Signature and
                                                                                             notes/letters to AT&T, P.O. Box 5074, Carol Stream, Illinois 60197-5074 or FAX
  Digital Life accounts only, the late payment fee/charge will be up to $7.00
                                                                                             314.242.0792.
  (increased from $5.75). For more information on fees, please visitatt.com/
  latepaymentfee
                                                                                             Wireless DirectBill charges
                                                                                             Detail of DirectBill charges can be viewed at att.com/db. The direct billing
  Important information                                                                      option offers you the ability to purchase content, goods and features such
                                                                                             as apps, games, donations, and services from AT&T and other companies by
                                                                                             applying charges to your wireless account.
  Late payment charge
  The late payment charge for consumer and Individual Responsibility User
  (IRU) bills not paid in full by the payment due date is $5.75.                              Tax ID
                                                                                              AT&T Mobility Tax ID XX-XXXXXXX

  Electronic check conversion
  Paying by check authorizes AT&T to use the information from your check                      Wireless Services provided by AT&T Mobility, LLC.
  to make a one-time electronic fund transfer from your account. Funds may                    © 2020 AT&T Intellectual Property. All rights reserved.
  be withdrawn from your account as soon as your payment is received. If
  we cannot process the transaction electronically, you authorize AT&T to
- present an image copy of your check for payment. Your original check will be
  destroyed once processed. If your check is returned unpaid you agree to pay
  such fees as identified in the terms and conditions of your agreement, up to
  $30. Returned checks may be presented electronically.


  Surcharges and other fees
  AT&T imposes additional charges on a per line basis, including federal and
  state universal service charges, an Administrative Fee (to defray certain
  expenses including charges AT&T or its agents pay to interconnect with
  other carriers to deliver calls from AT&T customers to their customers,
  and charges associated with cell site rents and maintenance), and a
  Regulatory Cost Recovery Charge (to recover costs of compliance with
  certain government imposed regulatory requirements, including Wireless
  Number Portability and Number Pooling, and E911). These fees are not
  taxes or charges that the government requires AT&T to collect from its
  customers. See att.com/mobilityfees for details.


  AT&T Mobility Center for customers with disabilities
Case 3:21-cv-00098-SRU Document 1 Filed 01/21/21 Page 7 of 8




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Case 3:21-cv-00098-SRU Document 1 Filed 01/21/21 Page 8 of 8




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